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   10
                           UNITED STATES DISTRICT COURT
   11
                          CENTRAL DISTRICT OF CALIFORNIA
   12
                                   CENTRAL DIVISION
   13
   14
        WPP LUXEMBOURG GAMMA                  CASE NO. CV 09-02487 DMG
   15                                         (PLAx)
        THREE SARL,
   16               Plaintiff,                NOTICE OF SETTLEMENT AND
                                              REQUEST TO VACATE THE
   17                                         SCHEDULING CONFERENCE
             v.                               SCHEDULED FOR JUNE 14, 2013
   18
        NICK GROUF, DAVID WAXMAN,
   19                                         Judge:      Hon. Dolly M. Gee
        DANNY RIMER, ROGER LEE,               Date of Filing:   April 9, 2009
   20   ROBERT PITTMAN, BATTERY               Trial Date:       None Set
        VENTURES VI, L.P., BATTERY
   21
        INVESTMENT PARTNERS VI, LLC,
   22   BATTERY VENTURES VII, L.P.,
        BATTERY INVESTMENT
   23
        PARTNERS VII, LLC, INDEX
   24   VENTURES III (JERSEY) L.P.,
        INDEX VENTURES III
   25
        (DELAWARE) L.P., INDEX
   26   VENTURES III PARALLEL
        ENTREPRENEUR FUND (JERSEY)
   27
        L.P.,
   28                  Defendants.
                                                                  NOTICE OF SETTLEMENT
                                                                   CV 09-02487 DMG (PLAx)
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    1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2         Pursuant to Local Rule 16-15.7, PLEASE TAKE NOTICE that the parties
    3   to this action, Plaintiff WPP Luxembourg Gamma Three Sarl and Defendants
    4   Nick Grouf and David Waxman (collectively the “Parties”), have reached an
    5   agreement in principle (the “Settlement”) to settle the claims pending in this
    6   action. The Parties expect to document the Settlement and submit to the Court a
    7   request for dismissal to effectuate the Settlement within 30 days.
    8         In light of the Settlement, the Court is respectfully requested to vacate the
    9
        Scheduling Conference currently set for June 14, 2013.
   10
   11   Dated: June 11, 2013
   12                                          DAVIS & GILBERT LLP
                                               By: /s/ Paul F. Corcoran
   13                                          PAUL F. CORCORAN (admitted pro hac vice)
   14                                          (pcorcoran@dglaw.com)

   15                                          Attorneys for Plaintiff WPP Luxembourg
   16                                          Gamma Three Sarl

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   26                                          Attorneys for Defendants Nick Grouf and
                                               David Waxman
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                                                -1-                     NOTICE OF SETTLEMENT
                                                                         CV 09-02487-DMG (PLAx)
